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                                 Exhibit 4
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From:                              Hancock, Kevin P. (CIV) <Kevin.P.Hancock@usdoj.gov>
Sent:                              Friday, January 22, 2021 10:14 AM
To:                                O'Grady, Margaret; Merritt, Robert C. (CIV); Kirschner, Adam (CIV)
Cc:                                jjaramillo@heraca.org; Claire Torchiana; Ellis, Rebecca C.; Connor, Eileen; Merrill, Toby;
                                   Berman, Marcia (CIV)
Subject:                           RE: Sweet v DeVos - Deposition of the former Secretary


Maggie,

Thanks. We have consulted with the former Secretary’s outside counsel and would accept service of your subpoena on
her behalf under the following circumstances:

Regarding the date of compliance, to allow sufficient time for motion to quash briefing and a decision, we propose that
the subpoena state, “February 25, 2021, or a date mutually agreed upon by the parties,” and that we then separately
agree that this date should be stayed, if necessary, pending a final order on our motion to quash. Although the former
Secretary’s schedule remains busy, she has cleared February 25, 2021 in the event there is a definitive court order
requiring her to sit for a deposition by then. That date is also well prior to the March 11, 2021 deadline for Plaintiffs’
motion for summary judgment. But to account for the significant possibility that necessary litigation will not be
complete by February 25, 2021, we will require an agreement to stay any compliance date pending a final order to
accept service.

Regarding the place of compliance, Rule 45(c)(1)(A) allows for a deposition subpoena to require attendance within 100
miles of where the witness resides, and the former Secretary currently resides at her home in Vero Beach, Florida. We
would therefore accept service of a subpoena noticing a Zoom deposition in Vero Beach, Florida.

Please let us know if you agree to these conditions or if you would like to discuss further.

Thanks,
Kevin




From: O'Grady, Margaret <mogrady@law.harvard.edu>
Sent: Tuesday, January 19, 2021 12:36 PM
To: Hancock, Kevin P. (CIV) <Kevin.P.Hancock@usdoj.gov>; Merritt, Robert C. (CIV) <Robert.C.Merritt@usdoj.gov>;
Kirschner, Adam (CIV) <Adam.Kirschner@usdoj.gov>
Cc: jjaramillo@heraca.org; Claire Torchiana <ctorchiana@heraca.org>; Ellis, Rebecca C. <rellis@law.harvard.edu>;
Connor, Eileen <econnor@law.harvard.edu>; Merrill, Toby <tomerrill@law.harvard.edu>; Berman, Marcia (CIV)
<Marcia.Berman@usdoj.gov>
Subject: RE: Sweet v DeVos ‐ Deposition of the former Secretary

Kevin, thanks. Yes, we are amenable to the path forward you suggest. Regarding place of compliance, we assume the
deposition will be via zoom. Let me know when you’d like to speak about timing. We are happy to negotiate a date that
allows for briefing as necessary. That said, we’d like to do this as soon as possible.
Best,

                                                              1
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Maggie




From: Hancock, Kevin P. (CIV) [mailto:Kevin.P.Hancock@usdoj.gov]
Sent: Monday, January 18, 2021 6:19 PM
To: O'Grady, Margaret <mogrady@law.harvard.edu>; Merritt, Robert C. (CIV) <Robert.C.Merritt@usdoj.gov>; Kirschner,
Adam (CIV) <Adam.Kirschner@usdoj.gov>
Cc: jjaramillo@heraca.org; Claire Torchiana <ctorchiana@heraca.org>; Ellis, Rebecca C. <rellis@law.harvard.edu>;
Connor, Eileen <econnor@law.harvard.edu>; Merrill, Toby <tomerrill@law.harvard.edu>; Berman, Marcia (CIV)
<Marcia.Berman@usdoj.gov>
Subject: RE: Sweet v DeVos ‐ Deposition of the former Secretary

Maggie,

The Department is open to accepting service of your subpoena on behalf of the former Secretary if we can negotiate the
subpoena’s place of compliance and a reasonable compliance date that would allow sufficient time for motion‐to‐quash
briefing and a decision. Are Plaintiffs amenable to that path forward in concept? If so, we can discuss the particulars
further.

Thanks,
Kevin




From: O'Grady, Margaret <mogrady@law.harvard.edu>
Sent: Friday, January 15, 2021 2:59 PM
To: Hancock, Kevin P. (CIV) <Kevin.P.Hancock@usdoj.gov>; Merritt, Robert C. (CIV) <Robert.C.Merritt@usdoj.gov>;
Kirschner, Adam (CIV) <Adam.Kirschner@usdoj.gov>
Cc: jjaramillo@heraca.org; Claire Torchiana <ctorchiana@heraca.org>; Ellis, Rebecca C. <rellis@law.harvard.edu>;
Connor, Eileen <econnor@law.harvard.edu>; Merrill, Toby <tomerrill@law.harvard.edu>
Subject: RE: Sweet v DeVos ‐ Deposition of the former Secretary

Kevin,
Please let me know when you will have an answer.
Thanks a lot.
Maggie

From: Hancock, Kevin P. (CIV) [mailto:Kevin.P.Hancock@usdoj.gov]
Sent: Wednesday, January 13, 2021 12:36 PM
To: O'Grady, Margaret <mogrady@law.harvard.edu>; Merritt, Robert C. (CIV) <Robert.C.Merritt@usdoj.gov>; Kirschner,
Adam (CIV) <Adam.Kirschner@usdoj.gov>
Cc: jjaramillo@heraca.org; Claire Torchiana <ctorchiana@heraca.org>; Ellis, Rebecca C. <rellis@law.harvard.edu>;
Connor, Eileen <econnor@law.harvard.edu>; Merrill, Toby <tomerrill@law.harvard.edu>
Subject: RE: Sweet v DeVos ‐ Deposition of the former Secretary

Maggie,

We will reach out to the Department and get back to you.
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Thanks,
Kevin




From: O'Grady, Margaret <mogrady@law.harvard.edu>
Sent: Wednesday, January 13, 2021 11:52 AM
To: Merritt, Robert C. (CIV) <Robert.C.Merritt@usdoj.gov>; Hancock, Kevin P. (CIV) <Kevin.P.Hancock@usdoj.gov>;
Kirschner, Adam (CIV) <Adam.Kirschner@usdoj.gov>
Cc: jjaramillo@heraca.org; Claire Torchiana <ctorchiana@heraca.org>; Ellis, Rebecca C. <rellis@law.harvard.edu>;
Connor, Eileen <econnor@law.harvard.edu>; Merrill, Toby <tomerrill@law.harvard.edu>
Subject: Sweet v DeVos ‐ Deposition of the former Secretary

Counsel:
In light of yesterday’s order from Judge Alsup (ECF No. 172), please let me know if you will accept service of the
deposition subpoena for former Secretary DeVos, as you did for former Acting Under Secretary Manning.
Thank you.
Maggie

Margaret (Maggie) O’Grady
Legal Services Center of Harvard Law School
(617) 390‐2541
122 Boylston Street
Jamaica Plain, MA 02130

www.projectonpredatorystudentlending.org




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